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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

JORGE GUTIERREZ, JR. AND                      §
IRENE GUTIERREZ                               §
                                              §       CIVIL ACTION NO. 7:15-cv-00223
VS.                                           §
                                              §
ALLSTATE TEXAS LLOYDS                         §

             AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs, Jorge Gutierrez, Jr. and Irene Gutierrez and Defendant, Allstate Texas Lloyds,

file this, the Parties’ Agreed Stipulation of Dismissal with Prejudice under Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), and would show the Court as follows:

       1.      On April 7, 2015, Plaintiffs, Jorge Gutierrez, Jr. and Irene Gutierrez sued

               Defendant.

       2.      Plaintiffs, Jorge Gutierrez, Jr. and Irene Gutierrez, move to dismiss their suit.

       3.      Defendant agrees to the dismissal of Jorge Gutierrez, Jr. and Irene Gutierrez’s

               claims.

       4.      This case is not a class action.

       5.      A receiver has not been appointed in this case.

       6.      This case is not governed by any federal statute that requires a court order for the

               dismissal of Jorge Gutierrez, Jr. and Irene Gutierrez’s case.

       9.      Plaintiffs have not previously dismissed any federal court or state court suit based

               on or including the same claims as those presented in this case.

       10.     This dismissal is with prejudice to re-filing.




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                                                   Respectfully submitted,

                                                   /S/ Jose Luis Flores                  _____
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                                                   /S/ Rosemary Conrad-Sandoval
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                                                   Of Counsel:

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                                   CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and correct copy of the foregoing document
has been mailed, via electronic service, to the Attorney for Plaintiff, as follows:

Jose Luis Flores
LAW OFFICE OF JOSE LUIS FLORES
1111 W. Nolana Avenue
McAllen, Texas 78504

       on this 12th day of February, 2016.

                                                   /S/ Rosemary Conrad-Sandoval_______
                                                   ROSEMARY CONRAD-SANDOVAL




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